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9                                  UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,                  )         No. CR 06-329 JSW
                                                )
14           Plaintiff,                         )         [PROPOSED] ORDER AND STIPULATION
                                                )          EXCLUDING TIME FROM MAY 25, 2006
15      v.                                      )         TO JUNE 22, 2006 FROM THE SPEEDY
                                                )         TRIAL ACT CALCULATION
16   WILLIAM MULLIGAN, et al.                   )         (18 U.S.C. § 3161(h)(8)(A)) AS TO ALL
                                                )         DEFENDANTS
17           Defendants.                        )
                                                )
18
19      The parties appeared before the Court on May 25, 2006. The Court enters this order
20   scheduling a status hearing before the Hon. Jeffrey S. White on June 22, 2006, at 2:30 p.m., and
21   documenting the exclusion of time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A), from
22   May 25, 2006 to June 22, 2006. The parties agreed, and the Court found and held, as follows:
23      1. The defendants agreed to an exclusion of time under the Speedy Trial Act. Failure to
24   grant the requested continuance would unreasonably deny defense counsel reasonable time
25   necessary for effective preparation, taking into account the exercise of due diligence and the need
26   for defense counsel to review the discovery that the government recently produced, as well as
27   discovery that the government will be producing between May 25, 2006 and June 22, 2006.
28   Failure to grant the requested continuance would also deny the defendants continuity of counsel.

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1          2. Given these circumstances, the Court found that the ends of justice served by excluding

2    the period from May 25, 2006 to June 22, 2006, outweigh the best interest of the public and the

3    defendants in a speedy trial. Id. § 3161(h)(8)(A).

4          3. Accordingly, and with the consent of the defendants, the Court ordered that the period

5    from May 25, 2006 to June 22, 2006, be excluded from Speedy Trial Act calculations under 18

6    U.S.C. § 3161(h)(8)(A) & (B)(iv).

7          4. The Court scheduled a status hearing before the District Court, the Hon. Jeffrey S. White,

8    on June 22, 2006 at 2:30 p.m. With no objection from the government, the Court also excused

9    the appearance of Defendant Justin Garcia at that hearing.

10         IT IS SO STIPULATED.

11
12   DATED: June 15, 2006                                     /S/
                                                            TRACIE L. BROWN
13                                                          Assistant United States Attorney

14
15   DATED: June 16, 2006                                      /S/
                                                            BARRY PORTMAN
16                                                          Attorney for William Mulligan

17
18   DATED: June 19, 2006                                      /S/
                                                            DAVID ANDERSON
19                                                          Attorney for Jesse James Green

20
21   DATED: June 15, 2006                                      /S/
                                                            STEVEN GRUEL
22                                                          Attorney for Justin Jose Garcia

23
24   DATED: June 15, 2006                                      /S/
                                                            GEORGE BOISSEAU
25   ///                                                    Attorney for Jacob Hines

26   ///

27   ///

28   ///

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1      IT IS SO ORDERED.
2
3           June 21, 2006
     DATED:_____________________             ________________________________
                                             THE HON. JEFFREY S. WHITE
4                                            United States Magistrate Judge
5                                                        District

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